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 EXHIBIT G
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            TIME SUMMARY FOR INCEPTION TO NOVEMBER 30, 2019                              TIME SUMMARY FOR DECEMBER 1 - 17, 2019


                      Firm                       Total by Firm    Total by Firm                                Total by Firm   Total by Firm

                                                    Hours           Lodestar         Hours       Lodestar         Hours          Lodestar
            Court Appointed Leadership
Barnes Law Group, LLC                                  3,369.60     $1,930,503.50      116.00     $66,336.50        3,485.60    $1,996,840.00
Cohen Milstein Sellers & Toll, PLLC                    1,448.40      $982,651.00         0.00          $0.00        1,448.40     $982,651.00
DiCello Levitt Gutzler                                 4,541.10     $3,175,577.50      160.30    $117,654.00        4,701.40    $3,293,231.50
Doffermyre Shields Canfield & Knowles, LLC             3,157.70     $3,157,700.00      157.60    $157,600.00        3,315.30    $3,315,300.00
Doss Firm, LLC                                         1,141.80      $720,030.00         0.00          $0.00        1,141.80     $720,030.00
Evangelista Worley LLC                                   611.20      $374,242.50         0.00          $0.00          611.20     $374,242.50
Gibbs Law Group LLP                                    2,333.10     $1,302,122.50       59.20     $39,197.50        2,392.30    $1,341,320.00
Griffin & Strong P.C.                                    221.70        $92,965.00        0.00          $0.00          221.70       $92,965.00
Hausfeld LLP                                           2,291.40     $1,296,298.00      114.40     $74,944.00        2,405.80    $1,371,242.00
Milberg Tadler Phillips Grossman LLP                   1,661.30     $1,158,597.50        0.00          $0.00        1,661.30    $1,158,597.50
Tadler Law LLP                                            15.10        $12,262.50        0.00          $0.00           15.10       $12,262.50
Morgan & Morgan Complex Litigation Group               1,628.90     $1,245,102.70      137.60     $91,915.80        1,766.50    $1,337,018.50
Murphy, Falcon & Murphy                                  849.10      $552,259.00         0.00          $0.00          849.10     $552,259.00
Stueve Siegel Hanson LLP                               6,971.90     $4,964,846.50      233.10    $177,095.50        7,205.00    $5,141,942.00
           Other Consumer Counsel
Ahdoot & Wolfson                                         19.70         $10,697.50         0.00         $0.00           19.70      $10,697.50
Alexander Schack                                         26.60          $9,830.00         0.00         $0.00           26.60       $9,830.00
Barrack, Rodos & Bacine                                   3.00          $2,310.00         0.00         $0.00            3.00       $2,310.00
Berger & Montague P.C.                                   53.70         $35,289.50         0.00         $0.00           53.70      $35,289.50
Blood, Hurst & O'Reardon LLP                             73.80         $39,031.00         0.00         $0.00           73.80      $39,031.00
Buether Joe & Carpenter, LLC                              5.40          $2,767.50         0.00         $0.00            5.40       $2,767.50
Christensen Young & Associates                           18.20         $10,920.00         0.00         $0.00           18.20      $10,920.00
Colson Hicks Eidson                                       7.30          $4,560.00         0.00         $0.00            7.30       $4,560.00
Consumer Justice Center                                  19.90          $8,955.00         0.00         $0.00           19.90       $8,955.00
David A. Bain, LLC                                       23.60         $12,036.00         0.00         $0.00           23.60      $12,036.00
Dorros Law                                                4.20          $2,520.00         0.00         $0.00            4.20       $2,520.00
Eggnatz Pascucci                                         13.70          $7,192.50         0.00         $0.00           13.70       $7,192.50
Emerson Firm, PLLC                                        8.90          $7,075.50         0.00         $0.00            8.90       $7,075.50
Emerson Scott LLP                                        44.90         $35,695.50         0.00         $0.00           44.90      $35,695.50
Federman & Sherwood                                      61.00         $51,550.00         0.00         $0.00           61.00      $51,550.00
Fink Bressack                                            23.60         $15,056.00         0.00         $0.00           23.60      $15,056.00
Finkelstein & Thompson                                   29.90         $21,965.00         0.00         $0.00           29.90      $21,965.00
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             TIME SUMMARY FOR INCEPTION TO NOVEMBER 30, 2019                              TIME SUMMARY FOR DECEMBER 1 - 17, 2019


                      Firm                        Total by Firm    Total by Firm                               Total by Firm   Total by Firm

                                                     Hours           Lodestar         Hours      Lodestar         Hours          Lodestar
Fleming Law Firm, PLLC                                   21.30         $10,917.50         0.00        $0.00           21.30        $10,917.50
Geragos & Geragos, APC                                   96.10         $61,665.00         0.00        $0.00           96.10        $61,665.00
Goldman Scarlato & Penny, P.C.                           67.70         $48,407.50         0.00        $0.00           67.70        $48,407.50
Grabar Law Office                                        22.60         $17,515.00         0.00        $0.00           22.60        $17,515.00
Green & Noblin P.C.                                        4.20         $1,424.00         0.00        $0.00             4.20        $1,424.00
Gustafson Gluek PLLC                                    159.40         $93,295.00         0.00        $0.00          159.40        $93,295.00
Hannon Law Firm, LLC                                    120.40         $22,084.00         0.00        $0.00          120.40        $22,084.00
Harris Lowry Manton                                        9.50         $3,325.00         0.00        $0.00             9.50        $3,325.00
Hellmuth & Johnson                                       22.70         $18,704.50         0.00        $0.00           22.70        $18,704.50
Kantrowitz, Goldhamer & Graifman, P.C.                   22.10         $18,785.00         0.00        $0.00           22.10        $18,785.00
Keller Rohrback                                          97.80         $45,371.50         0.00        $0.00           97.80        $45,371.50
Levi & Korsinsky, LLP                                    25.50         $20,454.00         0.00        $0.00           25.50        $20,454.00
Daniel Mirarchi, Esq.                                      4.00         $2,340.00         0.00        $0.00             4.00        $2,340.00
Mastando & Artrip, LLC                                   21.10          $9,495.00         0.00        $0.00           21.10         $9,495.00
NastLaw LLC                                              29.20         $21,112.00         0.00        $0.00           29.20        $21,112.00
O'Brien Law Firm                                         10.10          $6,565.00         0.00        $0.00           10.10         $6,565.00
Quinn, Connor, Weaver, Davies & Rouco                      7.40         $4,215.00         0.00        $0.00             7.40        $4,215.00
Robbins Arroyo                                           17.50          $7,952.50         0.00        $0.00           17.50         $7,952.50
Saltz, Mongeluzzi, Barrett & Bendesky, P.C.              13.50          $7,222.50         0.00        $0.00           13.50         $7,222.50
Sanford Heisler Sharp, LLP                              519.80        $106,274.00         0.00        $0.00          519.80       $106,274.00
Saveri & Saveri, Inc.                                      7.00         $3,640.00         0.00        $0.00             7.00        $3,640.00
Scott Cole & Associates, APC                             52.20         $26,761.50         0.00        $0.00           52.20        $26,761.50
Spector Roseman & Kodroff, PC                            14.80          $9,339.00         0.00        $0.00           14.80         $9,339.00
Stein Mitchell Beato & Missner LLP                      153.90         $58,067.50         0.00        $0.00          153.90        $58,067.50
Stritmatter Kessler Whelan Koehler Moore                158.00         $63,030.00         0.00        $0.00          158.00        $63,030.00
Stull, Stull & Brody                                     70.00         $65,137.00         0.00        $0.00           70.00        $65,137.00
The Giatras Law Firm, PLLC                               19.20          $5,040.00         0.00        $0.00           19.20         $5,040.00
The Miller Law Firm                                     108.50         $52,911.00         0.00        $0.00          108.50        $52,911.00
Webb, Klase & Lemond, LLC                                28.10         $15,092.50         0.00        $0.00           28.10        $15,092.50
Wilentz, Goldman & Spitzer, P.A.                         22.70         $18,727.50         0.00        $0.00           22.70        $18,727.50
Withers Bergman LLP                                        6.50         $4,712.50         0.00        $0.00             6.50        $4,712.50


TOTAL FOR LEADERSHIP                                   30,242.30    $20,965,158.20      978.20   $724,743.30       31,220.50 $21,689,901.50
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         TIME SUMMARY FOR INCEPTION TO NOVEMBER 30, 2019                        TIME SUMMARY FOR DECEMBER 1 - 17, 2019


                Firm                    Total by Firm   Total by Firm                              Total by Firm   Total by Firm

                                           Hours          Lodestar          Hours     Lodestar        Hours          Lodestar
TOTAL FOR NON-LEADERSHIP                     2,370.20     $1,127,033.50         0.00    $0.00          2,370.20     $1,127,033.50
TOTAL ALL FIRMS                            32,612.50     $22,092,191.70       978.20 $724,743.30      33,590.70    $22,816,935.00
